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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

BOBBY GERALD BENNETT,                                  §
            Plaintiff,                                 §
                                                       §            CIVIL ACTION NO.
v.                                                     §
                                                       §            3:14-CV-0402-N
CARDAN SPENCER and,                                    §
CHRISTOPHER WATSON,                                    §
            Defendants.                                §

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE COURT:

        Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, the Parties,

Plaintiff, Bobby Gerald Bennett, Defendant Cardan Spencer, and Defendant Christopher Watson,

through their counsel of record, hereby stipulate to the dismissal with prejudice of all claims by

the Parties. The Parties respectfully request that the Court take note of this stipulation, and that

the dismissal of these claims and of this civil action be noted on the Court’s docket.

                                                           Respectfully submitted,

                                                           By:     /s/ Don Tittle
                                                                Don Tittle, attorney-in-charge
                                                                State Bar No. 20080200
                                                           LAW OFFICES OF DON TITTLE, PLLC
                                                           6301 Gaston Avenue, Suite 440
                                                           Dallas, Texas 75214
                                                           (214) 522-8400
                                                           (214) 389-1002 - Fax
                                                           don@dontittlelaw.com

                                                           Attorney for Plaintiff, Bobby Gerald Bennett




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                                                            /s/ Mark E. Goldstucker [with permission]
                                                           Mark E. Goldstucker
                                                           State Bar of Texas No. 08104100
                                                           Attorney-in-Charge
                                                           Law Officer of Mark E. Goldstucker
                                                           300 North Coit Road, Suite 1125
                                                           Richardson, Texas 75080
                                                           Telephone: 972-479-1112
                                                           Fax: 972-479-1113
                                                           Email: mgoldstucker@gmail.com

                                                           Attorney for Defendant Cardan Spencer

                                                           WHITE & WIGGINS LLP

                                                           /s/ Kevin B. Wiggins [with permission]
                                                           Kevin B. Wiggins
                                                           Texas Bar No. 21441600
                                                           kbw@whitewiggins.com
                                                           Sol Villasana
                                                           Texas Bar No. 20585200
                                                           1700 Pacific Avenue, Suite 3740
                                                           Dallas, Texas 75201
                                                           Telephone: (214) 655-4158
                                                           Facsimile: (214) 655-4160
                                                           ATTORNEYS FOR DEFENDANT
                                                           CHRISTOPHER WATSON




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                                    CERTIFICATE OF SERVICE

       I certify that on this 14th day of October, 2015, I electronically submitted the foregoing
document with the Clerk of the Court for the U.S. District Court, Northern District of Texas,
using the electronic case filing system of the court, and that a true and correct copy of the
foregoing has been served upon the following counsel of record, by electronic service via the
Court’s CM/ECF system:

        Mark E. Goldstucker
        300 N. Coit Road, Suite 1125
        Richardson, Texas 75080

        Kevin B. Wiggins
        Sol Villasana
        White & Wiggins, LLP
        1700 Pacific Avenue, Suite 3740
        Dallas, Texas 75201

                                                    /s/ Don Tittle
                                                   Don Tittle




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